       Case 2:23-cr-00249-DAD Document 9 Filed 10/06/23 Page 1 FILED
                                                                 of 1
                      UNITED STATES DISTRICT COURT        October 6, 2023
                     EASTERN DISTRICT OF CALIFORNIA      CLERK, US DSITRICT COURT
                                                                  EASTERN DISTRICT OF
                                                                      CALIFORNIA


UNITED STATES OF AMERICA,                  Case No. 2:23-cr-0249 DAD-1

               Plaintiff,

      v.                                           ORDER FOR RELEASE OF
                                                    PERSON IN CUSTODY
DOMINIC DANTE DAVIS

               Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release DOMINIC DANTE DAVIS Case

No. 2:23-cr-0249 DAD-1 Charges 18 U.S.C §286 from custody for the following

reasons:

                x    Release on Personal Recognizance

                     Bail Posted in the Sum of $

                            Unsecured Appearance Bond $

                            Appearance Bond with 10% Deposit

                            Appearance Bond with Surety

                            Corporate Surety Bail Bond

                            (Other): .

      Issued at Sacramento, California on October 6, 2023 at 2:30 PM




                                  By:    /s/ Carolyn K. Delaney

                                         Magistrate Judge Carolyn K. Delaney
